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                               UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA
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                                  SAN FRANCISCO DIVISION

   SONOS, INC.,                               Case No. 3:20-cv-06754-WHA
                                            Consolidated with Case No. 3:21-cv-07559-
                  Plaintiff,                  WHA

          vs.                                 DECLARATION OF CHRIS CHAN IN
                                            SUPPORT OF GOOGLE LLC’S
   GOOGLE LLC,                                OPPOSITION TO SONOS, INC.’S
                                            MOTION FOR INJUNCTIVE RELIEF
                  Defendant.
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                                                                  CASE NO. 3:20-cv-06754-WHA
            DECLARATION OF CHRIS CHAN IN SUPPORT OF GOOGLE’S OPPOSITION TO SONOS’S MOTION FOR
                                                                             INJUNCTIVE RELIEF
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 1          I, Chris Chan, declare and state as follows:

 2          1.       I have personal knowledge of the matters set forth in this Declaration, and if called

 3 as a witness I would testify competently to those matters.

 4          2.       I am a Senior Product Manager at Google. I joined Google as a full-time employee

 5 in 2017. As a Product Manager for the Google Home smart speakers from May 2017 to March

 6 2021, I worked on speaker grouping functionality.

 7          3.       There are three methods of “grouping” Google smart speakers: static grouping,

 8 dynamic grouping, and stereo pairing. A very small fraction of smart speaker users, approximately

 9 less than 5%, utilize any of these grouping methods. Among those who engage in static grouping,

10 the most common way of using that feature is to create a group of all devices that a user owns, for

11 example “all my speakers” or “everywhere.”

12          4.       In my experience, our users mostly use Chromecast devices such as the Chromecast,

13 Chromecast Ultra, and Chromecast with Google TV to stream video to their televisions, not as part

14 of speaker groups.

15          5.       The following Google products have been discontinued: Google Home (in October

16 2019), Google Home Max (in December 2020), Google Home Mini (in December 2021), Google

17 Home Hub (in March 2021), Chromecast Ultra (in September 2020), and Chromecast Audio (in

18 January 2019).

19          6.       As I previously testified during my deposition in November 2022, Google does not

20 price the accused products below cost. By this I mean that Google does not set the Manufacturer’s

21 Suggested Retail Price (“MSRP”) below its Bill of Materials, or the cost Google incurs to

22 manufacture the product.

23          7.       If any advertisements are displayed or played on Google’s smart speaker products,

24 they would only come from within a content playback application that a user chooses to use on the

25 display or speaker. For example, if a customer is using a service that does display or play

26 advertisements, such as Spotify, a customer may see or hear an advertisement within the Spotify

27 playback—just as they would if they were using Spotify on their computer or phone. Google does

28 not display or play additional advertisements on its smart speaker products.
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                 DECLARATION OF CHRIS CHAN IN SUPPORT OF GOOGLE’S OPPOSITION TO SONOS’S MOTION FOR
                                                                                  INJUNCTIVE RELIEF
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 1          8.       Google does not sell any customer data that it may collect from its smart speakers.

 2          9.       I do not think of Google and Sonos as competitors in the smart speaker space. Google

 3 sells its speakers and devices at a lower price point than Sonos and generally attracts customers who

 4 are interested in the intelligence of the Google Assistant to control their smart homes. We briefly

 5 offered a product that was designed to attract customers who were interested in both Google

 6 Assistant and a more premium audio experience, the Google Home Max, which we sold for $399.

 7 However, this product was not a commercial success and we discontinued it after one holiday sales

 8 cycle.

 9          10.      To my knowledge, Sonos does not offer (1) media players that plug into televisions

10 to allow streaming of Internet video content from a phone or laptop, like Google’s Chromecast

11 devices (2) any speakers with display screens, like the Google Home Hub, Google Nest Hub, and

12 the Google Nest Hub Max, or (3) wifi extenders with an integrated speaker, like the Nest Wifi Point.

13
            I declare under penalty of perjury under the laws of the United States of America that to the
14
     best of my knowledge the foregoing is true and correct. Executed on June 29, 2023, in Oakland
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     California.
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                                                  By: /s/
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                                                      Chris Chan
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                                                                                  INJUNCTIVE RELIEF
